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7                           UNITED STATES DISTRICT COURT
8                                   DISTRICT OF ARIZONA
9
      C.M., on her own behalf and on behalf of her        No. CV-19-05217-PHX-SRB
10
      minor child, B.M.; L.G., on her own behalf and
11    on behalf of her minor child, B.G.; M.R., on her
      own behalf and on behalf of her minor child,
12    J.R.; O.A., on her own behalf and on behalf of
13    her minor child, L.A.; and V.C., on her own
      behalf and on behalf of her minor child, G.A.
14                                                        ORDER APPROVING
15                        Plaintiffs,                     SETTLEMENTS OF MINORS’
                                                          CLAIMS
16                 v.
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      United States of America,
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                          Defendant.
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20         The Court has reviewed Plaintiffs’ Unopposed Motion for Court Approval of
21   Settlements of Minors’ Claims. Defendant United States of America does not oppose the
22   relief sought in Plaintiffs’ motion. Upon consideration, and for good cause shown,
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           IT IS HEREBY ORDERED:
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               1. The Court approves the Settlements of the claims of minor Plaintiffs B.M.,
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                  B.G., L.A., and G.A. in this Lawsuit.
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               2. The Court approves the allocation of the Settlement proceeds as follows:
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1              a. Plaintiff C.M. and minor Plaintiff B.M. each receiving $189,500, for
2                 a total Settlement Amount of $379,000;
3              b. Plaintiff L.G. and minor Plaintiff B.G. each receiving $108,000, for a
4                 total Settlement Amount of $216,000;
5              c. Plaintiff O.A. and minor Plaintiff L.A. each receiving $189,500, for a
6                 total Settlement Amount of $379,000;
7              d. Plaintiff V.C. and minor Plaintiff G.A. each receiving $189,500, for a
8                 total Settlement Amount of $379,000.
9       3. The Court approves placement of B.M., B.G., L.A., and G.A.’s portions of
10         the Settlements into pooled minors’ trusts operated by Legacy Enhancement
11         until they reach the age of 18, 21, or 25.
12      4. Plaintiffs’ counsel shall coordinate with C.M., L.G., O.A., and V.C. and
13         Legacy Enhancement Trust for the execution of all necessary paperwork and
14         funding of the pooled minors’ trusts on behalf of B.M., B.G., L.A., and
15         G.A.’s and shall report back to the Court once funding is completed.
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     Dated this 2nd day of July, 2024.
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